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                      United States Court of Appeals
                                       For the First Circuit
                                          _____________________

      No. 14-1432
                                              ALICE BAINTON,

                                              Plaintiff, Appellant,

                                                       v.

                          VETERANS ADMINISTRATION MEDICAL CENTER,

                                            Defendant, Appellee.
                                            __________________

                                                    Before

                                       Howard, Thompson and Barron,
                                              Circuit Judges.
                                          __________________

                                                 JUDGMENT

                                              September 18, 2014

              Plaintiff-appellant Alice Bainton alleges the wrongful death of her husband in a Veterans
      Administration hospital. Bainton made a claim under the Federal Tort Claims Act with the
      Veterans Administration, which was denied. As she concedes, she then filed suit in federal court
      a month later than the applicable six-month limitations period. 28 U.S.C. § 2401(b). The district
      court granted the government's motion to dismiss the suit as time-barred. This appeal followed.

              In her appellate filings, Bainton urges that the suit is "important to every precious Veteran
      in the country and should be pursued by the Court of Appeals." The statute of limitations, however,
      does not authorize an exception on this basis, and this court does not have any freestanding power
      of investigation or oversight of the Veterans Administration.

             The judgment is affirmed.


                                                             By the Court:


                                                             /s/ Margaret Carter, Clerk
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      cc:
      McGaughey, Margaret D.
      Osborn, John G.
      Roth, Evan J.
      Bainton, Alice
